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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                      *

v.                                            *         Criminal No. JKB-14-271

KEYON PAYLOR                                  *

*      *      *    *    *    *    *    *    *    *    *    *   *
           MOTION TO SUPPRESS TANGIBLE AND DERIVATIVE EVIDENCE

       Defendant Keyon Paylor, by and through his undersigned counsel, James Wyda, Federal

Public Defender for the District of Maryland and Brendan A. Hurson, Assistant Federal Public

Defender, hereby moves this Honorable Court, pursuant to Rule 12(b)(3) of the Federal Rules of

Criminal Procedure to suppress evidence seized in violation of the Fourth Amendment to the United

States Constitution and as grounds states the following:

       1. Mr. Paylor is charged by indictment with the possession of a firearm by a prohibited

person in violation of 18 U.S.C. § 922 (g).

       2. Discovery reflects that on January 2, 2014, four (4) Baltimore City Police Department

officers (Detectives Hersl, Moore, Romeo, and Sgt. Burns) observed Mr. Paylor walking south in

the 600 block of Bartlett Avenue. The officers wore plain clothes and were riding in an unmarked

vehicle. All officers allege they saw Mr. Paylor walking “at a very fast pace.” Mr. Paylor

purportedly turned his head, saw the officers, and began to “pick up [his apparently already quick]

pace” before “running up some steps” to the front porch of 647 Bartlett Ave. The officers allege that

all four witnessed Mr. Paylor “hop over” several porches – Bartlett Ave. features a line of classic

Baltimore row-houses with connected front porches separated by low fences – before stopping in

front of 651 Bartlett Ave. All officers claim that they were able to see Mr. Paylor “reach into the

front of his waistband area with his right hand before removing what appeared to be a black
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handgun.” The officers allege he placed the suspected gun under the cushion of a chair on the porch

of 651 Bartlett Ave. At this point, officers allege that they issued Mr. Paylor “lawful orders to stop,”

claiming that Mr. Paylor ignored those orders and entered the dwelling.

        3.      Officers then claim they exited their car and entered the porch area of 651 Bartlett.

Soon thereafter, they entered through the front and back doors of the residence itself. They had no

warrant and did not receive permission to enter these areas. Once inside the home, officers claim

they apprehended Mr. Paylor. Officers then allege that they forcibly took Mr. Paylor to the front

porch of the home, where one detective observed a cigar containing suspected marijuana “sitting on

top” of the seat cushion the officers alleged was used to secret the suspected handgun moments

before. Officers claim that Mr. Paylor then stated, “the weeds [sic] mine [,] I don’t know anything

about the gun.” At this point Officer Moore claims he lifted the seat cushion to reveal a suspected

firearm. At no point did the officers receive consent to search any part of the residence.

        4.      The warrantless stop, seizure, arrest, and search of Mr. Paylor, and the warrantless

search of the residence and the objects therein, were made without reasonable suspicion or probable

cause and in violation of Mr/ Paylor’s rights under the Fourth Amendment to the United States

Constitution. Accordingly, all evidence seized in connection with the arrest of Mr. Paylor and the

search of 651 Bartlett Ave must be suppressed.

        5.    It bears noting that the porch of 651 Bartlett Ave. - and the objects and effects on it –

are unquestionably protected spaces for Fourth Amendment purposes. See, e.g., Oliver v. United

States, 466 U.S. 170 (1984) (noting that “the curtilage . . . warrants the Fourth Amendment

protections that attach to the home. . . [and] [a]t common law, the curtilage is the area to which

extends the intimate activity associated with the sanctity of a man’s home and the privacies of life


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. . . and therefore has been considered part of the home itself for Fourth Amendment purposes.”)

(internal quotations and citation omitted); Florida v. Jardines, 133 S. Ct. 1409, 1415 (2013) (“While

the boundaries of the curtilage are generally ‘clearly marked,’ the ‘conception defining the curtilage’

is at any rate familiar enough that it is ‘easily understood from our daily experience.’ . . . Here there

is no doubt that the officers entered it: The front porch is the classic exemplar of an area adjacent

to the home and ‘to which the activity of home life extends.’”) (internal citation omitted and

emphasis added). Thus, to be legal, the search of the porch, and the entry of the residential portion

of 651 Bartlett Avenue, required a warrant (or a recognized and applicable exception to the warrant

requirement).

          6.     Officers did not have a warrant and no recognized exception to the warrant requriement

applied. As such, the search was illegal and any evidence recovered - specifically the firearm – must

be suppressed.

          7.       Moreover, the seizure and arrest of Mr. Paylor in 651 Bartlett Ave. was unlawful as

it came without a warrant. Payton v. New York, 445 U.S. 573, 590 (1980) (“In terms that apply

equally to seizures of property and to seizures of persons, the Fourth Amendment has drawn a firm

line at the entrance to the house. Absent exigent circumstances, that threshold may not reasonably

be crossed without a warrant.”). Thus, evidence recovered from the seizure of Mr. Paylor, including

his statement and the alleged weapon itself, must be suppressed as directly attributable to the illegal

entry of the home or as “fruit of the poisonous tree.” See Wong Sun v. United States, 371 U.S. 471

(1963).

          8.       Because investigation of this case is incomplete, Mr. Paylor reserves the right to move

for suppression of evidence based on grounds not now discernible. Moreover, Mr. Paylor reserves

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the right to supplement this motion with additional arguments and information.

       WHEREFORE, the defendant requests that this Court grant an Order of Suppression on the

grounds alleged herein and any other ground that may become apparent upon a hearing on the

motion.

                                            Respectfully submitted,


                                            JAMES WYDA
                                            Federal Public Defender


                                                         /s/
                                            BRENDAN A. HURSON (Bar # 28179)
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                                POINTS AND AUTHORITIES

       1.      Illinois v. Gates, 462 U.S. 213 (1983).

       2.      Fourth Amendment to the United States Constitution.

       3.      Brendlin v. California, 551 U.S. 249 (2007).

       4.      California v. Hodari D., 499 U.S. 621 (1991).



                                                         /s/
                                             BRENDAN A. HURSON
                                             Assistant Federal Public Defender




                                 REQUEST FOR HEARING

       Pursuant to Rule 105.6 of the Local Rules of the United States District of Maryland, a

hearing is requested on this Motion.


                                                          /s/
                                             BRENDAN A. HURSON
                                             Assistant Federal Public Defender




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